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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

 ALEX A., by and through his guardian, )
 MOLLY SMITH individually and on behalf )
 of all other similarly situated,             )
                                              )
                                              )
          Plaintiff,                          )
                                              )
 v.                                           )      Civ. A. No. 3:22-CV-00573-SDD-RLB
                                              )
 GOVERNOR JOHN BEL EDWARDS, in )
 his official capacity as Governor of )
 Louisiana; WILLIAM SOMMERS, in his )                DEFENDANTS’ WITNESS LIST AND
 official capacity as Deputy Secretary of the )      EXHIBIT LIST FOR HEARING ON
 Office of Juvenile Justice, JAMES M. )              PLAINTIFF’S MOTION FOR
 LEBLANC, in his official capacity as )              PRELIMINARY INJUNCTION
 Secretary of the Louisiana Department of )
 Public Safety & Corrections,                 )
                                              )
                                              )
          Defendants.                         )

       COME NOW, through undersigned counsel, Defendants John Bel Edwards, in his official

capacity as Governor of Louisiana; William Sommers, in his official capacity as Deputy Secretary

of the Office of Juvenile Justice; and James M. LeBlanc, in his official capacity as Secretary of

the Louisiana Department of Public Safety & Corrections (collectively “Defendants”) and submit

their Witness List and Exhibit List for the hearing on Plaintiff’s Motion for Preliminary Injunction:

                                         WITNESS LIST

 No.   Witness                                                                Will Call/May Call

 1.    Angela Jacobs Bridgewater                                              May
       Program Manager IV
       Louisiana Office of Juvenile Justice

 2.    Beth Broussard                                                         May
       Parole Director
       Louisiana Office of Juvenile Justice



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3.    Denise Dandridge                                               May
      Director of Health Services
      Louisiana Office of Juvenile Justice

4.    Shenell Deville                                                May
      Director of Education
      Louisiana Office of Juvenile Justice

5.    Maghen Gagnard                                                 May
      Executive Staff Officer
      Louisiana State Penitentiary

6.    James M. LeBlanc                                               May
      Secretary of the Louisiana Department of Public Safety &
      Corrections

7.    Orlando L. Martinez                                            May
      Martinez-Tjaden, LLP

8.    Otha “Curtis” Nelson                                           May
      Assistant Secretary
      Louisiana Office of Juvenile Justice

9.    Kristi Nelson                                                  May
      Regional Director for Southern Region
      Louisiana Office of Juvenile Justice

10.   Deron Patin                                                    May
      Executive Management Advisor
      Louisiana Office of Juvenile Justice

11.   William Sommers                                                May
      Deputy Secretary
      Louisiana Office of Juvenile Justice

12.   Plaintiff                                                      May




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                                     EXHIBIT LIST

No.     Description/Name                                                 Bates No.

                            Documents regarding BCCY-WF

D-1     Bridge City Center for Youth at West Feliciana, Summary of       OJJ-000066-67
        Plan

D-2     Youth Services Policy, Youth Classification System and           OJJ-000001-26
        Treatment Procedures



D-3     Youth Services Policy, Transitional Treatment Unit (TTU)         OJJ-000027-51

D-4     Youth Services Policy, Behavioral Intervention (BI) and          OJJ-000187-198
        Extended BI

D-5     BCCY-WF Organizational Charts including Overall,                 OJJ-000052-59
        Education, Security Staff, Social Services, Food Services, and
        HR Purchasing

D-6     Google Map Photographs of Facility                               OJJ-000146-147

D-7     WFCY Schematic Layout                                            OJJ-000170-173

D-8     Protocol for Video Calls via Microsoft Team at West Feliciana    OJJ-000269

D-9     System Review Memorandum (7/25/22)                               OJJ-000371-372

D-10    Relocation of Youth Memorandum (8/5/22)                          OJJ-000414

D-11    Memorandum of Understanding between La. Dept. of Public          OJJ-000417-422
        Safety & Corrections – Youth Services—Office of Juvenile
        Justice and La. Dept. of Corrections—Corrections Services

D-12    Affidavit of Deron Patin                                         OJJ-000658-663

D-13    Declaration of Otha “Curtis” Nelson                              OJJ-000674-705

D-14    Declaration of Angela Jacobs Bridgewater                         OJJ-000706-737




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         Documents regarding Damage Caused to Other Secure Care Facilities

D-15    Unusual Occurrence Report regarding damage to Faith Dorm      OJJ-000982-983
        (3/16/21)

D-16    Photos of damage to Faith Dorm (Composite exhibit)            OJJ-000857-868

D-17    Unusual Occurrence Report regarding damage to Hope Dorm       OJJ-000984-988
        (4/8/21)

D-18    Photos of damage to Hope Dorm (Composite exhibit)             OJJ-000843-856

D-19    Unusual Occurrence Reports regarding damage to Dignity        OJJ-000989-993
        Dorm (5/4/21) (Composite exhibit)

D-20    Photos of Dignity Dorm (Composite exhibit)                    OJJ-000827-833

D-21    Unusual Occurrence Reports regarding damage to Dignity        OJJ-000994-1001
        Dorm (6/7/21) (Composite exhibit)

D-22    Unusual Occurrence Reports regarding damage to Hope Dorm      OJJ-001002-1005
        (7/24/21) (Composite exhibit)

D-23    Photos of Hope Dorm (Composite exhibit)                       OJJ-000797-820

D-24    Unusual Occurrence Reports regarding damage to Liberty        OJJ-001006-1011
        Dorm (11/28/21) (Composite exhibit)

D-25    Photos of Liberty Dorm (Composite exhibit)                    OJJ-000771-796

D-26    Unusual Occurrence Reports regarding damage to Dignity        OJJ-001014-1016
        Dorm (3/9/22) (Composite exhibit)

D-27    Photos of Dignity Dorm (Composite exhibit)                    OJJ-000759-766

D-28    Unusual Occurrence Report regarding damage to Liberty         OJJ-001012-1013
        Dorm (3/17/22)

D-29    Photos of Liberty Dorm (Composite exhibit)                    OJJ-000767-770

D-30    Unusual Occurrence Report regarding damage to Infirmary       OJJ-000078
        (5/9/22)

D-31    Photos of damage to Infirmary (Composite exhibit)             OJJ-000079-81




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D-32    Unusual Occurrence Report regarding damage to MHTU          OJJ-000124
        Dorm (5/9/22)

D-33    Photos of damage in MHTU Dorm Incident                      OJJ-000084-95,
                                                                    OJJ-000098-109,
                                                                    OJJ-000112-123, &
                                                                    OJJ-000127-138

D-34    Photos of damage to TMHU/Apple (5/25/22)                    OJJ-000139-145

D-35    Unusual Occurrence Reports regarding damage to Cypress      OJJ-000895-902
        (5/31/22) (Composite exhibit)

D-36    Photos of Cypress (Composite exhibit)                       OJJ-000869-893

D-37    Unusual Occurrence Reports regarding damage to Hope Dorm    OJJ-001017-1018
        (6/8/22) (Composite exhibit)                                & OJJ-000918-919

D-38    Photos of damage to Hope Dorm (Composite exhibit)           OJJ-000738-758 &
                                                                    OJJ-000905-917

D-39    Unusual Occurrence Reports regarding damage to BI Room      OJJ-000961-962
        (7/6/22) (Composite exhibit)

D-40    Photos of damage to BI Room (Composite exhibit)             OJJ-000960 &
                                                                    OJJ-000963

D-41    Email: SCY ADO Report – Property Destruction (7/24/22)      OJJ-000955-56

            Documents regarding Educational Programming at BCCY-WF

D-42    Affidavit of Shenell Deville                                OJJ-000664-668

D-43    TTU Education Programming                                   OJJ-000265-267

D-44    Contract between La. Dept. of Public Safety & Corrections   OJJ-000148-161
        Youth Services (YS) and La. Special School District

D-45    BCCY Education Schedule                                     OJJ-000174-175

D-46    BCCY-WF Education Schedule                                  OJJ-000184-185

D-47    School Calendar                                             OJJ-000146-177

D-48    Certifications and Resumes of BCCY-WF Educational Staff     OJJ-000178-183 &
        (Composite Exhibit)                                         OJJ-000186


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                 Documents regarding Medical Services at BCCY-WF

D-49    Affidavit of Denise Dandridge                               OJJ-000669-70

D-50    Amendment #2 to the Agreement between La. DPS&C/Youth       OJJ-000162-169
        Services (YS) and Wellpath, LLC

D-51    2022-2023 Joint Policy and Procedure Manual                 OJJ-000215-218 &
                                                                    OJJ-000423-568

D-52    Licenses of BCCY-WF Medical Staff (Composite Exhibit)       OJJ-000219-221

D-53    Licenses, Resumes, and Training Transcripts of BCCY-WF      OJJ-000199-214
        Mental Health Staff (Composite Exhibit)

                     Documents Regarding Recreation and Activity

D-54    Recreation and Activity Monitoring                          OJJ-000272-275

D-55    Leisure and Recreation Activities                           OJJ-000276-280

D-56    West Feliciana Activity Schedule                            OJJ-001066-1068

           Documents Regarding Plaintiff’s Administrative Review Process

D-57    Affidavit of Revettea Woods                                 OJJ-000603-657

   Documents regarding Basis for and Classification of Plaintiff for Transfer to TTU

D-58    Affidavit of Beth Broussard                                 OJJ-000671-673

D-59    TTU Referral Form                                           OJJ-001098-1099

D-60    Code of Conduct Violation Report (5/24/22)                  OJJ-001100-1101

D-61    Code of Conduct Violation Report (6/4/22)                   OJJ-001102-1103

D-62    Unusual Occurrence Reports (6/13/22) (Composite exhibit)    OJJ-001104-1105

D-63    Code of Conduct Violation Reports (7/1/22) (Composite       OJJ-001106-1109
        exhibit)

D-64    Code of Conduct Violation Reports (7/17/22) (Composite      OJJ-001110-1111
        exhibit)




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D-65    Code of Conduct Violation Reports (7/19/22) (Composite          OJJ-001112-1113
        exhibit)

D-66    Code of Conduct Violation Reports (7/21/22) (Composite          OJJ-001114-1118
        exhibit)

D-67    Unusual Occurrence Reports (8/15/22) (Composite exhibit)        OJJ-001119-1139

                               Expert Witness Documents

D-68    Curriculum Vitae of Orlando L. Martinez

D-69    Expert Report of Orland L. Martinez

                                 Additional Designations

        Any documents included on Plaintiffs’ Exhibit List.

        Documents used solely for the purpose of impeachment.


                                                  Respectfully Submitted:

                                         BY:      /s/ Allena McCain
                                                  Connell Archey (#20086)
                                                  Randal J. Robert (#21840)
                                                  Allena McCain (#38830)
                                                  Madaline King (#38301)
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                                                      Counsel for Defendants
                                                      GOVERNOR JON BEL EDWARDS, in his
                                                      official capacity as Governor of Louisiana;
                                                      WILLIAM SOMMERS, in his official
                                                      capacity as Deputy Secretary of the Office of
                                                      Juvenile Justice; and JAMES M. LEBLANC,
                                                      in his official capacity as Secretary of the
                                                      Louisiana Department of Public Safety &
                                                      Corrections


                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing has this day been filed electronically
with the Clerk of Court using the CM/ECF system, which will deliver notice of this filing to all
counsel of record.

       Baton Rouge, Louisiana this 2nd day of September, 2022.


                                                      /s/ Allena McCain
                                                      Allena McCain


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